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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

------------------------------------------------------------ x
In re:                                                       : Chapter 11
                                                             :
IMERYS TALC AMERICA, INC., et al., 1                         : Case No. 19-10289 (LSS)
                                                             :
                    Debtors.                                 : (Jointly Administered)
                                                             :
------------------------------------------------------------ x

             NOTICE OF AMENDED 2 AGENDA OF MATTERS SCHEDULED FOR
             TELEPHONIC HEARING ON DECEMBER 17, 2020 AT 10:00 A.M. (ET)

         This hearing will be held telephonically and by video. All parties wishing to appear
          must do so telephonically by contacting COURTCALL, LLC at 866-582-6878 no
         later than Dec. 17 at 8:30 a.m. to sign up. Additionally, anyone wishing to appear
             by Zoom is invited to use the link below. All parties that will be arguing or
         testifying must appear by Zoom and CourtCall. Participants on CourtCall should
            dial into the call not later than 10 minutes prior to the start of the scheduled
                                 hearing to insure a proper connection.

             PLEASE NOTE THAT THE MICROPHONES ON THE ZOOM MEETING
               WILL BE MUTED AND THE ONLY AUDIO WILL BE THROUGH
                                   COURTCALL

                           Topic: Imerys Talc America, Inc., 19-10289 (LSS)
                      Time: Dec 17, 2020 10:00 AM Eastern Time (US and Canada)

                                         Join ZoomGov Meeting
                             https://debuscourts.zoomgov.com/j/1617816768

                                         Meeting ID: 161 781 6768
                                            Passcode: 324890

                                              Join by SIP
                                      1617816768@sip.zoomgov.com




   1
            The Debtors in these cases, along with the last four digits of each Debtor’s federal tax
   identification number, are: Imerys Talc America, Inc. (6358), Imerys Talc Vermont, Inc. (9050), and
   Imerys Talc Canada Inc. (6748). the Debtors’ address is 100 Mansell Court East, Suite 300, Roswell,
   Georgia 30076.
   2
            Amended items appear in bold.

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I.       CONTINUED MATTER:

         1.        Motion of Debtors for Entry of Order (I) Approving Disclosure Statement and
                   Form and Manner of Notice of Hearing Thereon, (II) Establishing Solicitation
                   Procedures, (III) Approving Form and Manner of Notice to Attorneys and
                   Certified Plan Solicitation Directive, (IV) Approving Form of Ballots,
                   (V) Approving Form, Manner, and Scope of Confirmation Notices,
                   (VI) Establishing Certain Deadlines in Connection with Approval of Disclosure
                   Statement and Confirmation of Plan, and (VII) Granting Related Relief [Docket
                   No. 1716 – filed May 15, 2020]

                   Objection / Response Deadline:        June 16, 2020 at 4:00 p.m. (ET); extended
                                                         for the Office of the United States Trustee
                                                         (the “U.S. Trustee”) to June 19, 2020 at 4:00
                                                         p.m. (ET); extended for Rio Tinto America
                                                         Holdings Inc., Rio Tinto America Inc., Rio
                                                         Tinto Services Inc. and Zurich American
                                                         Insurance Company to June 19, 2020;
                                                         extended to October 26, 2020 at 4:00 p.m.
                                                         (ET); further extended for the U.S. Trustee
                                                         and Talcum Powder Retailers to October 28,
                                                         2020 at 4:00 p.m. (ET)

                   Objection / Responses Received:

                   A.     Certain Insurers’ Objection to (1) Disclosure Statement for Third
                          Amended Joint Plan and (2) Proposed Confirmation Schedule [Docket No.
                          2409 – filed October 26, 2020]

                   B.     Travelers’ Objection to Debtors’ Motion for Entry of Order Approving
                          Disclosure Statement and Granting Related Relief [Docket No. 2410 –
                          filed October 26, 2020]

                   C.     Objection of Johnson & Johnson and Johnson & Johnson Consumer Inc.
                          to Motion of Debtors for Entry of Order (I) Approving Disclosure
                          Statement and Form and Manner of Notice of Hearing Thereon,
                          (II) Establishing Solicitation Procedures, (III) Approving Form and
                          Manner of Notice to Attorneys and Certified Plan Solicitation Directive,
                          (IV) Approving Form of Ballots, (V) Approving Form, Manner, and
                          Scope of Confirmation Notices, (VI) Establishing Certain Deadlines in
                          Connection With Approval of Disclosure Statement and Confirmation of
                          Plan, and (VII) Granting Related Relief [Docket No. 2412 – filed October
                          26, 2020]

                   D.     Objection and Joinder of the Ad Hoc Committee of Imerys Talc Litigation
                          Plaintiffs in Opposition to the Debtors’ Solicitation Motion and Disclosure
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                        Statement for Third Amended Joint Chapter 11 Plan of Reorganization of
                        Imerys Talc America, Inc. and Its Debtor Affiliates Under Chapter 11 of
                        the Bankruptcy Code [Docket No. 2413 – filed October 26, 2020]

                   E.   RMI Excess Insurers’ Objection to (1) Disclosure Statement for Third
                        Amended Plan and (2) Proposed Confirmation Schedule [Dkt. 1716, 2084,
                        2290, 2355] and Joinder to Certain Insurers’ Objection [Dkt. 2409]
                        [Docket No. 2416 – filed October 26, 2020]

                   F.   RMI Excess Insurers’ Amended Objection to (1) Disclosure Statement for
                        Third Amended Plan and (2) Proposed Confirmation Schedule [Dkt. 1716,
                        2084, 2290, 2355] and Joinder to Certain Insurers’ Objection [Dkt. 2409]
                        [Docket No. 2417 – filed October 27, 2020]

                   G.   Objection and Joinder of William Hart Plaintiffs in Opposition to the
                        Debtors’ Solicitation Motion and Disclosure Statement for Third
                        Amended Joint Chapter 11 Plan of Reorganization of Imerys Talc
                        America, Inc. and Its Debtor Affiliates Under Chapter 11 of the
                        Bankruptcy Code [Docket No. 2423 – filed October 27, 2020]

                   H.   Joinder of Certain Underwriters at Lloyd’s, London and Certain London
                        Market Insurers to Certain Insurers’ Objection to (1) Disclosure Statement
                        for Third Amended Joint Plan and (2) Proposed Confirmation Schedule
                        [Docket No. 2424 – filed October 27, 2020]

                   I.   United States Trustee’s Objection to Motion of Debtors for Entry of Order
                        (I) Approving Disclosure Statement and Form and Manner of Notice of
                        Hearing     Thereon,    (II)   Establishing    Solicitation  Procedures,
                        (III) Approving Form and Manner of Notice to Attorneys and Certified
                        Plan Solicitation Directive, (IV) Approving Form of Ballots,
                        (V) Approving Form, Manner, and Scope of Confirmation Notices,
                        (VI) Establishing Certain Deadlines in Connection With Approval of
                        Disclosure Statement and Confirmation of Plan, and (VII) Granting
                        Related Relief [Docket No. 2427 – filed October 28, 2020]

                   J.   Objection of Cyprus Mines Corporation and Cyprus Amax Minerals
                        Company to Debtors’ Third Amended Disclosure Statement [Docket No.
                        2429 – filed October 28, 2020]

                        i.     Objection of Cyprus Mines Corporation and Cyprus Amax
                               Minerals Company to Debtors’ Third Amended Disclosure
                               Statement [Docket No. 2408 – filed October 26, 2020]

                   K.   Objection of Talcum Powder Retailers to Motion of Debtors for Entry of
                        Order (I) Approving Disclosure Statement and Form and Manner of
                        Notice of Hearing Thereon, (II) Establishing Solicitation Procedures,
                        (III) Approving Form and Manner of Notice to Attorneys and Certified
                        Plan Solicitation Directive, (IV) Approving Form of Ballots,

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                          (V) Approving Form, Manner, and Scope of Confirmation Notices,
                          (VI) Establishing Certain Deadlines in Connection With Approval of
                          Disclosure Statement and Confirmation of Plan, and (VII) Granting
                          Related Relief [Docket No. 2432 – filed October 28, 2020]

                   L.     Supplemental Objection of Arnold & Itkin LLP to Debtors’ Solicitation
                          Motion and Disclosure Statement For Third Amended Joint Chapter 11
                          Plan of Reorganization of Imerys Talc America, Inc. and Its Debtor
                          Affiliates Under Chapter 11 of the Bankruptcy Code [Docket No. 2458 –
                          filed November 2, 2020]

                          i.     Objection of Arnold & Itkin LLP to Debtors’ Solicitation Motion
                                 and Disclosure Statement for Third Amended Joint Chapter 11
                                 Plan of Reorganization of Imerys Talc America, Inc. And Its
                                 Debtor Affiliates Under Chapter 11 of the Bankruptcy Code
                                 [Docket No. 2406 – filed October 26, 2020]

                   M.     Kline & Specter’s Amended Supplemental Objection of Arnold & Itkin
                          LLP to Debtors’ Solicitation Motion and Disclosure Statement for Third
                          Amended Joint Chapter 11 Plan of Reorganization of Imerys Talc
                          America, Inc. and Its Debtor Affiliates Under Chapter 11 of the
                          Bankruptcy Code [Docket No. 2464 – filed November 3, 2020]

                   Related Documents:

                   i.     Notice of Filing of Exhibits to Amended Plan [Docket No. 2184 – filed
                          September 10, 2020]

                   ii.    Declaration of Jeanne C. Finegan in Support of Publication Notice and
                          Supplemental Publication Plan [Docket No. 2292 – filed October 5, 2020]

                   iii.   Notice of Continued Hearing to Consider Approval of (A) Solicitation
                          Procedures Motion [Docket No. 1716] and (B) Disclosure Statement
                          [Docket No. 2355] [Docket No. 2360 – filed October 16, 2020]

                   iv.    Notice of Filing of Further Revised Trust Distribution Procedures [Docket
                          No. 2370 – filed October 19, 2020]

                   v.     Notice of Continued Hearing to Consider Approval of (A) Solicitation
                          Procedures Motion [Docket No. 1716] and (B) Disclosure Statement
                          [Docket No. 2355] [Docket No. 2481 – filed November 6, 2020]

                   vi.    Fourth Amended Joint Chapter 11 Plan of Reorganization of Imerys Talc
                          America, Inc. and Its Debtor Affiliates Under Chapter 11 of the
                          Bankruptcy Code [Docket No. 2615 – filed December 10, 2020]

                   vii.   Disclosure Statement for Fourth Amended Joint Chapter 11 Plan of
                          Reorganization of Imerys Talc America, Inc. and Its Debtor Affiliates

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                           Under Chapter 11 of the Bankruptcy Code [Docket No. 2616 – filed
                           December 10, 2020]

                   viii.   Notice of Filing of Blacklines of Revised Disclosure Statement and Fourth
                           Amended Plan [Docket No. 2617 – filed December 10, 2020]

                   ix.     The Official Committee of Tort Claimants’ and the Future Claimant
                           Representative’s Joint Omnibus Reply in Support of Motion for Entry of
                           Order (I) Approving Disclosure Statement and Form and Manner of
                           Notice of Hearing Thereon, (II) Establishing Solicitation Procedures, (III)
                           Approving Form and Manner of Notice to Attorneys and Certified Plan
                           Solicitation Directive, (IV) Approving Form of Ballots, (V) Approving
                           Form, Manner, and Scope of Confirmation Notices, (VI) Establishing
                           Certain Deadlines in Connection with Approval of Disclosure Statement
                           and Confirmation of Plan, and (VII) Granting Related Relief [Docket No.
                           2618 – filed December 10, 2020]

                   x.      Notice of Further Revised Order (I) Approving Disclosure Statement and
                           Form and Manner of Notice of Hearing Thereon, (II) Establishing
                           Solicitation Procedures, (III) Approving Form and Manner of Notice to
                           Attorneys and Certified Plan Solicitation Directive, (IV) Approving Form
                           of Ballots, (V) Approving Form, Manner, and Scope of Confirmation
                           Notices, (VI) Establishing Certain Deadlines in Connection with Approval
                           of Disclosure Statement and Confirmation of Plan, and (VII) Granting
                           Related Relief [Docket No. 2619 – filed December 10, 2020]

                   xi.     Debtors’ Omnibus Reply in Support of Motion for Entry of Order (I)
                           Approving Disclosure Statement and Form and Manner of Notice of
                           Hearing Thereon, (II) Establishing Solicitation Procedures, (III)
                           Approving Form and Manner of Notice to Attorneys and Certified Plan
                           Solicitation Directive, (IV) Approving Form of Ballots, (V) Approving
                           Form, Manner, and Scope of Confirmation Notices, (VI) Establishing
                           Certain Deadlines in Connection With Approval of Disclosure Statement
                           and Confirmation of Plan, and (VII) Granting Related Relief [Docket No.
                           2620 – filed December 10, 2020]

                   xii.    Appendix to Joint Omnibus Reply in Support of Motion for Entry of Order
                           (I) Approving Disclosure Statement and Form and Manner of Notice of
                           Hearing Thereon, (II) Establishing Solicitation Procedures, (III)
                           Approving Form and Manner of Notice to Attorneys and Certified Plan
                           Solicitation Directive, (IV) Approving Form of Ballots, (V) Approving
                           Form, Manner, and Scope of Confirmation Notices, (VI) Establishing
                           Certain Deadlines in Connection with Approval of Disclosure Statement
                           and Confirmation of Plan, and (VII) Granting Related Relief [Docket No.
                           2621 – filed December 10, 2020]

                   xiii.   Appendix to Debtors’ Omnibus Reply in Support of Motion for Entry of
                           Order (I) Approving Disclosure Statement and Form and Manner of
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                           Notice of Hearing Thereon, (II) Establishing Solicitation Procedures, (III)
                           Approving Form and Manner of Notice to Attorneys and Certified Plan
                           Solicitation Directive, (IV) Approving Form of Ballots, (V) Approving
                           Form, Manner, and Scope of Confirmation Notices, (VI) Establishing
                           Certain Deadlines in Connection With Approval of Disclosure Statement
                           and Confirmation of Plan, and (VII) Granting Related Relief [Docket No.
                           2622 – filed December 10, 2020]

                    xiv.   Joint Status Report Regarding Fourth Amended Joint Chapter 11 Plan of
                           Reorganization of Imerys Talc America, Inc. and Its Debtor Affiliates
                           Under Chapter 11 of the Bankruptcy Code [Docket No. 2633 – filed
                           December 14, 2020]

                   Status: The hearing on this Motion and to approve the Debtors’ proposed
                           disclosure statement has been adjourned to January 12, 2021 at 10:00 a.m.
                           (ET) and, if necessary, January 15, 2021 at 10:00 a.m. (ET).

II.      UNCONTESTED MATTERS WITH CERTIFICATES OF NO OBJECTION:

         2.        Debtors’ Sixth Omnibus (Substantive) Objection to Certain Satisfied Claims,
                   Substantive Duplicate Claims, and Partially Satisfied Claims [Docket No. 2533 –
                   filed November 16, 2020]

                   Objection / Response Deadline:       December 10, 2020 at 4:00 p.m. (ET)

                   Objections / Responses Received:     None.

                   Related Documents:

                    i.     Notice of Submission of Copies of Proofs of Claim Regarding Debtors’
                           Sixth Omnibus (Substantive) Objection to Certain Satisfied Claims,
                           Substantive Duplicate Claims, and Partially Satisfied Claims [Docket No.
                           2582 – filed December 3, 2020]

                    ii.    Certificate of No Objection Regarding Debtors’ Sixth Omnibus
                           (Substantive) Objection to Certain Satisfied Claims, Substantive Duplicate
                           Claims, and Partially Satisfied Claims [Docket No. 2626 – filed December
                           11, 2020]

                    iii.   Order Sustaining Debtors’ Sixth Omnibus (Substantive) Objection to
                           Certain Satisfied Claims, Substantive Duplicate Claims, And Partially
                           Satisfied Claims [Docket No. 2637 – entered December 15, 2020]

                   Status: On December 15, 2020, the Court entered an order regarding this
                           matter. Accordingly, a hearing on this matter is no longer necessary.

         3.        Debtors’ Motion for Modification of Automatic Stay to Permit Debtors’ Resumed
                   Participation in Related Talc Appeal [Docket No. 2585 – filed December 3, 2020]
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                   Objection / Response Deadline:       December 10, 2020 at 4:00 p.m. (ET)

                   Objections / Responses Received:     None.

                   Related Documents:

                   i.     Certificate of No Objection Regarding Debtors’ Motion for Modification
                          of Automatic Stay to Permit Debtors’ Resumed Participation in Related
                          Talc Appeal [Docket No. 2627 – filed December 11, 2020]

                   ii.    Order Granting Debtors Motion for Modification of Automatic Stay
                          to Permit Debtors Participation in Related Talc Appeal [Docket No.
                          2638 – entered December 15, 2020]

                   Status: On December 15, 2020, the Court entered an order regarding this
                           matter. Accordingly, a hearing on this matter is no longer necessary.

III.     CONTESTED MATTERS GOING FORWARD:

         4.        Debtors’ Objection to Proof of Claim Nos. 915, 922, and 926 Filed by Johnson &
                   Johnson, Johnson & Johnson Consumer Inc. and Their Affiliates [Docket No.
                   2284 – filed October 5, 2020]

                   Objection / Response Deadline:       November 2, 2020 at 4:00 p.m. (ET)

                   Objections / Responses Received:

                   A.     Johnson & Johnson and Johnson & Johnson Consumer Inc.’s Preliminary
                          Response to the Debtors’ Objection to Proof Of Claim Nos. 915, 922, and
                          926 filed By Johnson & Johnson, Johnson & Johnson Consumer Inc. and
                          Their Affiliates [Docket No. 2465 – filed November 3, 2020]

                   Related Documents: None.

                   Status: The hearing on this matter has been continued to the omnibus hearing
                           scheduled for February 10, 2021 at 10:00 a.m. (ET).

         5.        Debtors’ Motion to Compel Compliance with Rule 2019 of the Federal Rules of
                   Bankruptcy Procedure [Docket No. 2457 – filed November 2, 2020]

                   Objection / Response Deadline:       November 9, 2020 at 4:00 p.m. (ET);
                                                        extended for the Ad Hoc Committee of
                                                        Imerys Talc Litigation Plaintiffs to
                                                        November 12, 2020 at 10:00 A.m. (ET)

                   Objections / Responses Received:



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                   A.     Response and Reservation of Rights of Arnold & Itkin LLP to Debtors’
                          Motion to Compel Compliance With Rule 2019 of the Federal Rules of
                          Bankruptcy Procedure [Docket No. 2485 – filed November 9, 2020]

                   B.     Response and Reservation of Rights of Williams Hart Boundas Easterby,
                          LLP to Debtors’ Motion to Compel Compliance With Rule 2019 [Docket
                          No. 2486 – filed November 9, 2020]

                   C.     Response and Reservation of Rights of Kline & Specter, PC to Debtors’
                          Motion to Compel Compliance With Rule 2019 of the Federal Rules of
                          Bankruptcy Procedure [Docket No. 2487 – filed November 9, 2020]

                   D.     Response and Reservation of Rights of the Ad Hoc Committee of Imerys
                          Talc Litigation Plaintiffs to Debtors’ Motion to Compel Compliance With
                          Rule 2019 of the Federal Rules of Bankruptcy Procedure [Docket No.
                          2498 – filed November 11, 2020]

                   Related Documents:

                   i.     Verified Statement of Arnold & Itkin LLP Pursuant to Bankruptcy Rule
                          2019 [Docket No. 2505 – filed November 12, 2020]

                   ii.    Verified Statement of Williams Hart Boundas Esterby, LLP Pursuant to
                          Bankruptcy Rule 2019 [Docket No. 2521 – filed November 13, 2020]

                   iii.   Verified Statement of Ad Hoc Committee of Talc Litigation Claimants
                          Pursuant to Bankruptcy Rule 2019 [Docket No. 2525 – filed November
                          16, 2020]

                   iv.    Motion of the Ad Hoc Committee to Seal or Redact Verified Statement
                          Pursuant to Rule 2019 of the Federal Rules of Bankruptcy Procedure
                          [Docket No. 2526 – filed November 16, 2020]

                   Status: The hearing on this matter is going forward.

IV.      INTERIM FEE APPLICATIONS:

         6.        Interim Fee Applications

                   Objection / Responses Received:       (See Exhibit A)

                   Related Documents:            (Also, see Exhibit A)

                   i.     Certification of Counsel Regarding Sixth Omnibus Order Awarding
                          Interim Allowance of Compensation for Services Rendered and for
                          Reimbursement of Expenses [Docket No. 2635 – filed December 15,
                          2020]


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                   Status: The hearing with respect to the First Interim Application of the Official
                           Committee of Tort Claimants for Reimbursement of Expenses Incurred by
                           Committee Member Representatives for the Period of March 5, 2019
                           through September 30, 2020 [Docket No. 2342] (the “Committee
                           Expense Application”) and the Amended Fourth Interim Application of
                           Legal Analysis Systems, Inc. as Tort Liability Consultant for the Official
                           Committee of Tort Claimants for Compensation for Services Rendered
                           and for Reimbursement of Expenses for the Period March 1, 2020
                           through May 31, 2020 [Docket No. 2339] (the “LAS Amended
                           Application”) have been continued to a date to be determined. With the
                           exception of the Committee Expense Application and the LAS Amended
                           Application, the Debtors have submitted a proposed form of omnibus
                           order under certification of counsel, reflecting agreements between
                           certain professionals and the Fee Examiner regarding the remainder of
                           the interim fee applications listed on Exhibit A attached hereto.
                           Accordingly, a hearing on this matter is only necessary to the extent the
                           Court has questions or concerns.

Dated: December 16, 2020                  /s/ Michael J. Merchant
       Wilmington, Delaware
                                           RICHARDS, LAYTON & FINGER, P.A.

                                           Mark D. Collins (No. 2981)
                                           Michael J. Merchant (No. 3854)
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                                           One Rodney Square
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                                           - and -

                                           LATHAM & WATKINS LLP

                                           Jeffrey E. Bjork (admitted pro hac vice)
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                                   - and -

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